                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHWESTERN DIVISION

CECIL E. HOPKINS,

      individually, and on behalf of a Class of all
      others similarly situated,
                                                       Case No. 08-5052-CV-SW-GAF
                                 Plaintiff,

vs.

KANSAS TEACHERS COMMUNITY
CREDIT UNION,

                        Defendant.

 ORDER OVERRULING OBJECTIONS TO SUBPOENA DUCES TECUM TO KUTAK
      ROCK, LLP AND COMPELLING PRODUCTION OF DOCUMENTS

          Now pending before the Court is Plaintiff’s Statement of Discovery Dispute with respect

to a subpoena duces tecum issued on July 20, 2009 to the law firm of Kutak Rock, LLP.

          The subpoena seeks the production of:

          “All documents and records, including electronic databases or spreadsheets, that
          identify all persons to whom your client in the matter captioned as April Smith v.
          Centrix Financial, LLC, et al., Case No. 0516-CV-05165 (Circuit Court of
          Jackson County, Missouri), Centrix Financial, LLC, sent the pre-sale notices,
          letters or communications similar to ones the attached hereto as Exhibit 1,
          including copies of all of the pre-sale notices, letters or communications.”

          Kutak Rock, LLP objected to the subpoena, contending that the Gramm-Leach-Bliley

Act, at 15 U.S.C. § 6802(c), prohibits it from complying with the subpoena. Plaintiff contends

that the Gramm-Leach-Bliley Act at 15 U.S.C. § 6802(c), expressly authorizes Kutak Rock, to

disclose nonpublic information in its possession if the disclosure of that information would be

lawful if made by the financial institution from which it received that information.

          The Court finds that the Gramm-Leach-Bliley Act at 15 U.S.C. § 6802(e)(8), expressly

allows Kutak Rock, LLP to provide the requested information to Plaintiff in response to his



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subpoena. See id; see also Marks v. Global Mortgage Group, Inc., 218 F.R.D. 492, 496 (S.D.

W.Va. 2003).     The Court also finds that the Gramm-Leach-Bliley Act, at 15 U.S.C. §

6802(e)(3)(E), also permits the release of information to persons acting in a fiduciary or

representative capacity on behalf of the consumers. This includes the Plaintiff in this putative

class action. See Her v. Regions Financial Corp., 2007 WL 2806558 (W.D. Ark. 2007).

       Based upon the above, it is hereby ORDERED that Kutak Rock, LLP provide the

documents and records requested in the subpoena duces tecum to Plaintiff within 10 days of the

Court’s Order.



                                                   s/ Gary A. Fenner
                                                   Gary A. Fenner, Judge
                                                   United States District Court
DATED: August 12, 2009




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